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Your honor, I write this letter as a response to the government request for incarceration. I

recognize that many of the points the prosecutor made are fair and valid. I would like to address

these points as best I can. Thank you for your time and consideration



The government attorney claims that I was being arrogant, Quite frankly, at first I was being

arrogant and I did take things too lightly. So much so, that my ex completely gave up on me and

told me goodbye shortly after picking me up from jail. Honestly, I needed that. For a moment in

time, I did make light of my actions and was somewhat proud of what I did. I thought that because

I didn’t personally partake in any violence or vandalism that somehow I was less culpable. It’s

does not, however, make me less culpable. I realize that. I was wrong to be there. I was wrong to

go in the Capitol.



I honestly never planned on doing anything extreme or even of entering the building. The high I

had from the rush of adrenaline and excitement gave me tunnel vision to the bigger picture. I did

not realize just how scared and in danger the Capitol Police were that day. While I was inside the

building, the Capitol Police seemed so friendly that I was under the impression that our presence

was only a minor inconvenience. Looking back on that day, I realize that they were in fact crippled

by fear and wildly outnumbered. While some may have agreed with us, most were doing what

they could to appease us, while only trying to make it home to their families that day.



I realize that my behavior on January 6th, was incredibly impulsive and completely inappropriate

and wrong. Although I may not have personally participated in any violence or vandalism, the fact

that I can be seen smiling and gleefully cheering on as our democracy was under attack is

downright disgraceful. I am ashamed of the way that I acted. That behavior was unbecoming and

totally unacceptable from someone who is known for being a positive person. I should have never
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been there that day, and as time passed, and the gravity of the situation sunk in, I realized that I

needed to take a huge step back from politics.



After months of working constant overtime just to make ends meet, I have finally gotten a new job

that I really like. It also pays a lot more per hour so I no longer have to work 60-80 hours per week

just to pay rent. Things are starting to look up in my life. I now have time to think and reflect. I only

eat healthy foods. I run at least six miles daily. I am much more focused on improving myself and

my personal goals ,instead of being so obsessed with politics. My mind used to be so

muddied…clouded by extremist politics. I am free now! And free to focus on all my own hopes

and dreams. With some mercy from the court, I hope to keep my newfound freedom.



On top of all that, I found someone who I believes to be the love of my life. Although our bond is

new, we have already been there for each other through a lot of difficulties. I can’t say I’ve ever

felt this way about anyone else. She inspires me, and she keeps me grounded. Fortunately, she

isn’t into politics. I need that peace. That safe place.



Honestly, in January most of my friends were people that I had met online. So, when I got banned

from all social medias I truly felt all alone, with no family close to me. I decided to get back on

social media, Tiktok, to start posting videos. I studied the trends of tiktok and how to go viral. I

thought that if I just went viral one more time then I will have friends again and I would feel better.

So, I posted a tiktok of Trump at UFC, two trends together that I knew would go viral. Shortly after

going viral, I realized that what I was doing wasn’t of any real value and I stopped posting. Since

being off social media I am in a much better mental and emotional place. I have time to go out

and run. To be with my girlfriend. To live peaceably in nature.
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I am accused of using the aftermath of January 6th as an opportunity to fundraise for a video

game, The reason I felt the need to fundraise, was because I owed people money who had

previously invested in my game. I had been working on this game long before I ever went to the

Capitol. Even though I knew it would look bad to try to fundraise for the game, I wanted to do what

I could to repay the many people who had invested in the game development in the first place.



Due to my demeanor and my personality, I know it may seem as though I don’t take things as

seriously as I should, but that isn’t the case. I have always been known as being the most positive

person in the room. I’m known as being the one person who would go out of his way to brighten

up the day of everyone else around me. I was always the peace maker in my family. I hide behind

my smile. It permits me to overcome problems.



I beg for mercy from the Court. I accept responsibility for my actions, and I have learned my

lessons. Without my presence and the presence of thousands of others—there would have not

been an attempted coup. Not only have I learned my lesson, but I am grateful to have learned. I

am ashamed that this personal growth has come, in part, at the expense of others and has put

our country in danger. I am not a violent person, and I do not want to be a danger to society. I will

never do anything even remotely similar to my actions on January 6th, and I do not think my

actions were okay. As someone who has just. finally started to get my life together, I beg to be

spared from the cold lonely nights in a prison cell.



Your honor, I am so sorry.



Jack Jesse Griffith
